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Counsel to the Ad Hoc Committee of Shareholders
UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                    ) Chapter 11
    In re:                                          )
                                                    ) Case No. 20-11254 (JLG)
    LATAM Airlines Group S.A., et al.,1             )
                                                    ) Jointly Administered
                            Debtors.                )
                                                    )

             VERIFIED STATEMENT OF GLENN AGRE BERGMAN & FUENTES LLP
                         PURSUANT TO BANKRUPTCY RULE 2019

             In connection with the above-captioned Chapter 11 cases (the “Chapter 11 Cases”), Glenn

Agre Bergman & Fuentes LLP (“Glenn Agre) submits this verified statement (the “Verified

Statement”) pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy


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         The Debtors in these Chapter 11 Cases (as defined herein), along with the last four digits of each Debtor’s
U.S. or local tax identification number (as applicable), are: LATAM Airlines Group S.A. (XX-XXXXXXX); Lan Cargo
S.A. (XX-XXXXXXX); Transporte Aéreo S.A. (XX-XXXXXXX); Inversiones Lan S.A. (XX-XXXXXXX); Technical Training
LATAM S.A. (96-847880K); LATAM Travel Chile II S.A. (XX-XXXXXXX); Lan Pax Group S.A. (XX-XXXXXXX); Fast
Air Almacenes de Carga S.A. (XX-XXXXXXX); Línea Aérea Carguera de Colombia S.A. (XX-XXXXXXX); Aerovías de
Integración Regional S.A. (98- 0640393); LATAM Finance Ltd. (N/A); LATAM Airlines Ecuador S.A. (98-
0383677); Professional Airline Cargo Services, LLC (XX-XXXXXXX); Cargo Handling Airport Services, LLC (30-
1133972); Maintenance Service Experts, LLC (XX-XXXXXXX); Lan Cargo Repair Station LLC (XX-XXXXXXX); Prime
Airport Services Inc. (XX-XXXXXXX); Professional Airline Maintenance Services LLC (XX-XXXXXXX); Connecta
Corporation (XX-XXXXXXX); Peuco Finance Ltd. (N/A); Latam Airlines Perú S.A. (XX-XXXXXXX); Inversiones Aéreas
S.A. (N/A); Holdco Colombia II SpA (76- 9310053); Holdco Colombia I SpA (XX-XXXXXXX); Holdco Ecuador S.A.
(XX-XXXXXXX); Lan Cargo Inversiones S.A. (XX-XXXXXXX); Lan Cargo Overseas Ltd. (XX-XXXXXXX); Mas Investment
Ltd. (XX-XXXXXXX); Professional Airlines Services Inc. (XX-XXXXXXX); Piquero Leasing Limited (N/A); TAM S.A.
(N/A); TAM Linhas Aéreas S.A. (65- 0773334); Aerolinhas Brasileiras S.A. (XX-XXXXXXX); Prismah Fidelidade Ltda.
(N/A); Fidelidade Viagens e Turismo S.A. (XX-XXXXXXX); TP Franchising Ltda. (N/A); Holdco I S.A. (XX-XXXXXXX)
and Multiplus Corredora de Seguros Ltda. (N/A). For the purpose of these Chapter 11 Cases, the service address for
the Debtors is: 6500 NW 22nd Street Miami, FL 33131.
Rule 2019”) with respect to Glenn Agre’s representation of an ad hoc committee of shareholders

of LATAM Airlines Group S.A. (the “Ad Hoc Committee of Shareholders”), and respectfully

states as follows:

       1.      On or around May 19, 2021, certain members of the Ad Hoc Committee of

Shareholders retained Glenn Agre to represent the Ad Hoc Committee of Shareholders in

connection with the Chapter 11 Cases.

       2.      From time to time thereafter, certain additional members have joined the Ad Hoc

Committee of Shareholders. As of the date of this Verified Statement, Glenn Agre represents the

shareholders set forth in Exhibit A.

       3.      As of the date of this Verified Statement, Glenn Agre represents the Ad Hoc

Committee of Shareholders and does not represent or purport to represent (i) any of the members

of the Ad Hoc Committee of Shareholders in their individual capacity, or (ii) any entities other

than the Ad Hoc Committee of Shareholders in connection with the Chapter 11 Cases. In addition,

neither the Ad Hoc Committee of Shareholders nor any member thereof represents or purports to

represent any other entities in connection with these cases.

       4.      The members of the Ad Hoc Committee of Shareholders have indicated to Glenn

Agre that they hold disclosable economic interests or act as investment managers to funds and/or

accounts that hold disclosable economic interests in relation to the above-captioned debtors (the

“Debtors”). In accordance with Bankruptcy Rule 2019 and based upon information provided to

Glenn Agre by each member of the Ad Hoc Committee of Shareholders, attached hereto as

Exhibit A is a list of the names, addresses, nature, and amount of all disclosable economic interests

of each present member of the Ad Hoc Committee of Shareholders in relation to the Debtors.




                                                 2
       5.     Nothing contained in this Verified Statement (or Exhibit A hereto) should be

construed as a limitation upon, or waiver of, any rights of any member of the Ad Hoc Committee

of Shareholders or Glenn Agre to assert, file, and/or amend any claim or proof of claim filed in

accordance with applicable law and any orders entered in these Chapter 11 Cases.

       6.     The members of the Ad Hoc Committee of Shareholders and Glenn Agre reserve

the right to amend or supplement this Verified Statement in accordance with the requirements set

forth in Bankruptcy Rule 2019.

       7.     The undersigned verify that the foregoing is true and correct to the best of their

knowledge.

                                   [Signature on Next Page]




                                               3
Dated: August 17, 2021
       New York, New York
                            /s/ Andrew K. Glenn
                            Andrew K. Glenn
                            Shai Schmidt
                            Rich Ramirez
                            Naznen Rahman
                            GLENN AGRE BERGMAN & FUENTES LLP
                            55 Hudson Yards
                            20th Floor
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                                   rramirez@glennagre.com
                                   nrahman@glennagre.com

                            Counsel to the Ad Hoc Committee of Shareholders




                                     4
                                                                            Exhibit A1

                                                                                           Approximate
                                                                                                                        Other Disclosable Economic
                     Name2                                    Address                       Number of
                                                                                                                                 Interests
                                                                                             Shares
                                                  32 Elm Place
                                                  3rd Floor                                    527,553                                  N/A
    Two Seas Global (Master) Fund LP              Rye, NY 10580
                                                  3033 Excelsior Blvd
    Whitebox Multi-Strategy Partners,             Suite 500                                    200,000                                  N/A
    LP.                                           Minneapolis, MN 55416
                                                  1 Greenwich Plaza
    Hampton Road Capital Management               3rd Floor                                    109,000                                  N/A
    LP                                            Greenwich, CT 06830
                                                  3131 Campus Drive
                                                  Ste 100                                      154,000                                  N/A
    Milestone Vimba Fund LP                       Plymouth, MN 55441
                                                  7 World Trade Center
    FourWorld Global Opportunities                46th Floor                                  1,000,000                                 N/A
    Fund, Ltd.                                    New York, NY 10007
    Funds managed, advised or
    controlled by Alta Fundamental                1500 Broadway, Suite 704                     283,897                                  N/A
    Advisers LLC                                  New York, NY 10036
                                                  3131 Campus Drive
                                                  Ste 100                                       50,000                                  N/A
    Patrick Conlin                                Plymouth, MN 55441
                                                  1750 W Ogden #4106
                                                                                               100,000                                  N/A
    Adam Gui                                      Naperville, IL 60567


1
          To the best of Glenn Agre’s knowledge, the information herein is accurate as of August 17, 2021.
2
          Each entity on this Exhibit A is listed either in its principal capacity or in its capacity as agent, investment advisor, or investment manager for certain
          investment funds or accounts or their respective subsidiaries that hold disclosable economic interests in relation to the Debtors.
                                     4030 S. Whitehorse Road,
                                     #408                           58,000    N/A
Kevin Barnes                         Malvern, PA 19355

                                     6156 N St Louis                23,500    N/A
Jacob Mermelstein                    Chicago IL 60659

                                                                    108,623   N/A
Inversiones y Servicios Toledo SPA   Prat 2495 Vallenar, Chile

                                     Yerbas Buenas 11636 Lo         70,684    N/A
Francisco Selman Kerestedjian        Barnechea, Santiago, Chile

                                     Yerbas Buenas 11636 Lo         30,000    N/A
Inmobiliaria Selman S.A.             Barnechea, Santiago, Chile
                                     Camino Mirasol 1459 Casa
                                     A, Las Condes, Santiago,       24,908    N/A
Andres Altamirano Medina             Chile

                                     Los Naranjos 18410, Maipu,     34,000    N/A
Jaime Duran Lopez                    Santiago, Chile

                                     Suarez Mujica 2224, Ñuñoa,      6,050    N/A
Patricio Araneda                     Santiago, Chile
                                     Calle Huelen N° 154,
                                     Departamento 21,                522      N/A
Rene Aravena Vega                    Providencia, Santiago Chile
                                     Carlos Ossandon 391-Ñ,
Inversiones Inmobiliarias y          Comunidad Los Almendros        229,000   N/A
Asesorias Giraq LTDA                 De La Reina, Santiago, Chile
Inversiones Inmobiliarias y       San Alfonso 83, San           71,909    N/A
Asesorias Gabykar LTDA            Bernardo, Santiago, Chile

                                  San Alfonso 83, San            7,614    N/A
Jaime De La Hoz                   Bernardo, Santiago, Chile

                                  Avenida Doce 193, San Jose    23,294    N/A
Juan Pablo Prado Etcheverry       De Maipo, Chile

                                  La Serena Golf Casa 404, La   15,000    N/A
Hugo Toledo Gonzales              Serena, Chile

                                  6500 N Hamlin                 337,116   N/A
Mermelstein Investment Partners   Lincolnwood, IL 60712

                                  6500 N Hamlin                  9,250    N/A
Joel Mermelstein                  Lincolnwood, IL 60712

Daniel Mermelstein Remainder      3322 W. Arthur Avenue,        20,000    N/A
Trust                             Lincolnwood, IL 60712

                                  3322 W. Arthur Avenue,         2,000    N/A
Daniel & Ayelet Mermelstein       Lincolnwood, IL 60712

                                  6500 N Hamlin                  8,900    N/A
Joshua Mermelstein                Lincolnwood, IL 60712

                                  6500 N Hamlin                  600      N/A
Judith Aryeh                      Lincolnwood, IL 60712
